                                                                                  Case 3:07-cv-05944-JST Document 3793 Filed 03/24/15 Page 1 of 5




                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                          5                        IN THE UNITED STATES DISTRICT COURT
                                                                          6                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)              )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                       )
                                                                                                                         )   Case No. C-07-5944-SC
                                                                          9                                              )
                                                                                                                         )   ORDER GRANTING IN PART AND
                                                                         10   This Order Relates To:                     )   DENYING IN PART CALIFORNIA
                               For the Northern District of California
United States District Court




                                                                                                                         )   ATTORNEY GENERAL'S MOTION
                                                                         11                                              )   TO TRANSFER OR EXTEND TIME
                                                                              ALL ACTIONS                                )   FOR HAGUE CONVENTION
                                                                         12                                              )   PROCESS TO DEPOSE LEO MINK
                                                                                                                         )
                                                                         13                                              )
                                                                                                                         )
                                                                         14                                              )
                                                                                                                         )
                                                                         15                                              )
                                                                                                                         )
                                                                         16                                              )
                                                                         17
                                                                         18            Now before the Court is the California Attorney General's
                                                                         19   ("AG") motion to transfer to San Francisco Superior Court the Hague
                                                                         20   Convention1 process for obtaining the deposition of Mr. Leo Mink in
                                                                         21   the Netherlands.       ECF No. 3500 ("Mot."). In the alternative, the AG
                                                                         22   requests an extension of time to complete the process of obtaining
                                                                         23   Mink's testimony.       Samsung SDI opposes.      ECF No. 3508 ("Opp'n").
                                                                         24   The motion is fully briefed, and for the reasons set forth below it
                                                                         25   is GRANTED IN PART and DENIED IN PART.
                                                                         26          Mink is a Dutch national and former employee of a non-party
                                                                         27   1
                                                                                Hague Convention on the Taking of Evidence Abroad in Civil or
                                                                         28   Commercial Matters, Mar. 18, 1970, 23 U.S.T. 2555, T.I.A.S. No.
                                                                              7444 (codified at 28 U.S.C. § 1780) ("Hague Convention").
                                                                               Case 3:07-cv-05944-JST Document 3793 Filed 03/24/15 Page 2 of 5




                                                                          1   subsidiary of Defendant Koninklijke Philips N.V.         The AG believes
                                                                          2   that Mink has information relevant to her suit seeking recompense
                                                                          3   for California consumers for alleged price fixing in the cathode
                                                                          4   ray tube market.    Matters related to discovery for that case were
                                                                          5   previously consolidated before this court.        ECF No. 3500-2
                                                                          6   ("Varanini Decl.") at ¶ 5.
                                                                          7        More than a year ago, the AG asked the Court to issue a letter
                                                                          8   of request to Dutch authorities seeking their aid in obtaining
                                                                          9   Mink's deposition through the process outlined in the Hague
                                                                         10   Convention.   ECF No. 2328 ("Request").       The Court issued the letter
                               For the Northern District of California
United States District Court




                                                                         11   of request.   ECF No. 2362.    Dutch authorities then misplaced the
                                                                         12   Court's letter, and asked that a new letter of request be sent,
                                                                         13   promising to expedite it once it reached the Netherlands.          ECF No.
                                                                         14   2518 ("Second Request").     The Court issued that letter of request
                                                                         15   as well.   ECF No. 2530.     Once that letter was transmitted to the
                                                                         16   Netherlands, Dutch authorities transferred it to the Court of Oost-
                                                                         17   Brabant for execution.     After Court of Oost-Brabant failed to
                                                                         18   promptly act on the letter of request and appoint a commissioner to
                                                                         19   effectuate the deposition, the Court granted an extension of time
                                                                         20   (over the opposition of Samsung SDI) to permit the deposition to go
                                                                         21   forward.   ECF No. 2877.    Since that time, the AG's office has
                                                                         22   contacted the Dutch court several times seeking to organize the
                                                                         23   deposition, but the Dutch court's progress has been gradual at
                                                                         24   best, and the necessary commissioner has still not been appointed.
                                                                         25   ECF No. 3500-2 ("Varanini Decl.") at ¶ 4.
                                                                         26        At the time the AG filed her motion, these cases were set for
                                                                         27   trial beginning on March 9, 2015 while the state court action was
                                                                         28   set for trial in July 2016.      Pointing to that date and the



                                                                                                                   2
                                                                               Case 3:07-cv-05944-JST Document 3793 Filed 03/24/15 Page 3 of 5




                                                                          1   potential inconvenience to the Court involved in both trying these
                                                                          2   complex matters and supervising the AG's discovery efforts in the
                                                                          3   Netherlands, the AG sought an order transferring this issue to
                                                                          4   Superior Court.   At the same time, recognizing that the Court might
                                                                          5   (and in fact did) vacate the trial date, the AG made an alternative
                                                                          6   request that if the Court vacated the trial date it grant a further
                                                                          7   extension of time to complete the Hague Convention process.
                                                                          8   Samsung opposes both requests.
                                                                          9        In light of the Court's order vacating the trial date, the
                                                                         10   Court sees no practical reason to transfer this matter to Superior
                               For the Northern District of California
United States District Court




                                                                         11   Court.   As a result, the AG's motion to transfer is DENIED.        The
                                                                         12   only remaining question is whether the Court should grant another
                                                                         13   extension of time to allow the discovery to be completed.
                                                                         14        Scheduling orders "may be modified only for good cause and
                                                                         15   with the judge's consent."     Fed. R. Civ. P. 16(b)(4).       Pretrial
                                                                         16   scheduling orders may be modified if the dates scheduled "cannot
                                                                         17   reasonably be met despite the diligence of the party seeking the
                                                                         18   extension."   Johnson v. Mammoth Recreations, Inc., 975 F.2d 604,
                                                                         19   609 (9th Cir. 1992).    The focus of the good cause inquiry is "on
                                                                         20   the moving party's reasons for seeking modification.          If that party
                                                                         21   was not diligent, the inquiry should end."        Id.   As the undersigned
                                                                         22   has previously observed, "centering the good cause analysis on the
                                                                         23   moving party's diligence prevents parties from profiting from
                                                                         24   carelessness, unreasonability, or gamesmanship, while also not
                                                                         25   punishing parties for circumstances outside their control."         In re
                                                                         26   Cathode Ray Tube (CRT) Antitrust Litig., No. C-07-5944-SC, 2014 WL
                                                                         27   4954634, at *2 (N.D. Cal. Oct. 1, 2014) (citing Orozco v. Midland
                                                                         28   Credit Mgmt. Inc., No. 2:12-cv-02585-KJM-CKD, 2013 WL 3941318, at



                                                                                                                   3
                                                                               Case 3:07-cv-05944-JST Document 3793 Filed 03/24/15 Page 4 of 5




                                                                          1   *3 (E.D. Cal. July 30, 2013)).
                                                                          2         As with the Court's previous order on the AG's issues with the
                                                                          3   Dutch Court, the delays at issue here were outside the AG's control
                                                                          4   and occurred despite the AG's diligence in pursuing Mink's
                                                                          5   deposition.   See id. at *3.      Once again, the AG has provided a
                                                                          6   declaration stating that despite repeated contacts with the Court
                                                                          7   of Oost-Brabant, the court has still not appointed the commissioner
                                                                          8   necessary to complete the examination.        Varanini Decl. ¶ 4.   While
                                                                          9   the Court cannot imagine why this request is taking Dutch
                                                                         10   authorities so long, the AG's submissions make clear the delays are
                               For the Northern District of California
United States District Court




                                                                         11   not a result of "carelessness" on the AG's part.         Johnson, 975 F.2d
                                                                         12   at 609.   The request is straightforward and was made to Dutch
                                                                         13   authorities with ample time to execute the request.          See CRT, 2014
                                                                         14   WL 4954634, at *3 & n.2 (citing empirical research demonstrating
                                                                         15   that "in the vast majority of cases, Hague Convention requests for
                                                                         16   oral testimony are resolved within six months").         The AG has gone
                                                                         17   so far as to hire a Dutch agent to seek resolution of the issue,
                                                                         18   apparently to no avail.     Id.   at *3.   In short, simply because
                                                                         19   Dutch authorities have not pursued this deposition with the same
                                                                         20   diligence as the AG's office does not mean the AG's office should
                                                                         21   be barred from obtaining Mink's testimony.
                                                                         22   ///
                                                                         23   ///
                                                                         24   ///
                                                                         25   ///
                                                                         26   ///
                                                                         27   ///
                                                                         28   ///



                                                                                                                    4
                                                                               Case 3:07-cv-05944-JST Document 3793 Filed 03/24/15 Page 5 of 5




                                                                          1        As a result, the Court finds that good cause exists to extend
                                                                          2   the relevant deadline, and thus the AG's motion to extend the
                                                                          3   deadline for completing the Hague Convention process is GRANTED.
                                                                          4   The relevant deadline shall be extended until 120 days from the
                                                                          5   signature date of this order.      The AG is further instructed to
                                                                          6   notify the relevant authorities at the Court of Oost-Brabant of the
                                                                          7   Court-ordered deadline in the hopes that they will act more quickly
                                                                          8   in appointing a commissioner and conducting Mink's examination.
                                                                          9
                                                                         10        IT IS SO ORDERED.
                               For the Northern District of California
United States District Court




                                                                         11
                                                                         12        Dated: March 24, 2015
                                                                                                                   UNITED STATES DISTRICT JUDGE
                                                                         13
                                                                         14
                                                                         15
                                                                         16
                                                                         17
                                                                         18
                                                                         19
                                                                         20
                                                                         21
                                                                         22
                                                                         23
                                                                         24
                                                                         25
                                                                         26
                                                                         27
                                                                         28



                                                                                                                   5
